Case 18-17978 DOC 35 Filed 07/05/18 Page 1 Of4

United States Bankruptcy Court

  
   

District of Maryland §§
In Re! C\£}'/'d/T)IO OC)Q('A) BW`OUD Case Number: / g" / 7 § 7 d f s d
Debwr<s) chapter; 7

AMENDED VERIFICATION OF CREDITOR MATRIX
The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge

Date: 0 7 /0 L/LO l g signature ofDebcor(s): /s/ OWMM%AM
/s/

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Case 18-17978 DOC 35 Filed 07/05/18 Page 2 Of 4

United States Bankruptcy Court
District of Maryland

lnRe: CBm(YU@C/QQUEMU CaseNumber: /y"/7 979

Debtor($) Chapter: 7

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AMENDED VERIFICATION OF CREDITOR MATRIX
The above namd Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge

Date: 0.7/0 21 / 20 / g simms ofDebwr(s):/s/ CM&,Q<,{`AM/LOUW

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Case 18-17978 DOC 35

D|VERSTF|ED CONSULTNTS
PO BOX 551268

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CRED|T CONTROL CORPORAT|VE
11821 ROCK LAND|NG DR|VE

NEWPORT NEWS, VA 23612

JEFFERSON CAP|TAL SYSTE|\/|
16 |V|CLELAND RD

SA|NT CLOUD, |\/|N 56303

|\/|ACY'S DEPART|\/|ENT STORE
PO BOX 8218

l\/|ASON, OH 45040

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FOREST SPR|NGS CONDO|V||N|U|\/| |NC C/O ZALCO REAL (HOA FEE ONLY)

8701 GEORG|A AVENUE

S|LVER SPR|NG, |\/|D 20910-3713

PORTFOL|O RECOVERY
120 CORPORATE BLVD

NORFORK, VA 23502

NAT|ONW|DE RECOVERY SERV|CES KA|SER

PO BOX 8005

CLEVELAND TN 37320

PHOEN|X A|\/|ER|CAN |\/|ED|CAL RESPONSE

 

 

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145 TECHNOLOGY PARKWAY STE 100

PEACHTREE CORNERS, GA 30092~2913

DEBT RECOVERY SOLUT|ONS VER|ZON
T|DEWATER F|NANCE CO|\/|PANY
6520 |ND|AN R|VER RD

V|RG|NA BEACH, VA 23464

SYNCB / JC PENNY
PO BOX 965007

ORLANDO, FL 32896

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